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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  NATHAN YOUNG,

  Plaintiffs

     v.
                                                      Civil Action No: 16-1046 (TFH)
  GOVERNMENT OF THE DISTRICT OF
  COLUMBIA, et al.,

  Defendants.



 PLAINTIFF’S OPPOSITION TO DISTRICT OF COLUMBIA’S MOTION TO COMPEL
   MEDICAL RECORDS AND SIGNED MEDICAL RELEASE AUTHORIZATIONS

          Defendant’s motion should be denied as moot as to the records pertaining to the incident

because Plaintiff’s counsel have ordered the records and Defendants know it. Counsel for the

District did not certify in their motion pursuant to F.R.C.P. 37(d)(1)(B) that they have in good faith

conferred with Plaintiff’s counsel in an effort to obtain the response without court action, and in

fact they have not done so.


          Defendant’s motion should be denied as to the signed medical release authorizations

because the request is not substantially justified. A request for production of documents pursuant

to Rule 34 of the Federal Rules of Civil Procedure cannot be utilized as a vehicle by which to

compel a party to sign an authorization for the release of medical records. Klugel v. Clough, 252

F.R.D. 53, 55 (D.D.C. 2008).


                                ____________________________________
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         On September 2, 2015 Defendant Officer Onoja threw an unresisting Mr. Young on the

ground without provocation and knelt on his back while pulling up an the handcuffs. Complaint,

[1-1].


         Mr. Young suffered non-permanent physical injuries and he also suffered what the courts

call “garden variety” emotional distress and pain and suffering. He is not claiming permanent

injury of any kind. Complaint, [1-1]. Nor is Mr. Young seeking specialized emotional or

psychological damages. Id. Nor did Mr. Young file a claim for intentional infliction of emotional

distress. Id.


         Plaintiff’s counsel have learnt that Mr. Young did make a single visit the day after the

incident (September 3, 2015; the date of the incident was September 2, 2015) to the hospital

because of wrist and shoulder pain because of the incident. He never sought any psychological

treatment.


Plaintiff’s counsel have ordered the records. As soon as Plaintiff’s counsel learnt that Mr. Young

had sought medical treatment in connection with the incident they told opposing counsel they

would order the relevant records and they have in fact done so. Plaintiff’s counsel expect the

records in 7 to ten business days.


Unexecuted Medical Release Authorizations. Plaintiff does not have to produce an Unexecuted

Medical Release Authorization in response to a document production request. A request for

production of documents pursuant to Rule 34 of the Federal Rules of Civil Procedure cannot be

utilized as a vehicle by which to compel a party to sign an authorization for the release of medical

records. Klugel v. Clough, 252 F.R.D. 53, 55 (D.D.C. 2008).
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Plaintiff does not have to produce his entire medical record in discovery. By claiming garden

variety emotional distress damages and non-permanent physical injury to his wrists and shoulder

he put his medical condition into issue only as to those two limited issues.


        A waiver of medical privileges is limited to the medical issues related to a plaintiff’s claim.

Street v. Hedgepath, 607 A.2d 1238, 1246 (D.C. 1992) ("By placing her physical condition in issue

through the filing of this lawsuit, plaintiff has waived her privilege against disclosure of relevant

medical evidence." ). The only relevant medical records for physical injury are the records from

the medical visit the day after the incident. Plaintiff’s counsel has ordered those records and

counsel will produce them when they receive them to the extent they are not otherwise protected.


        All other records are still privileged. D.C. Code § 14-307.

        A claim for damages for “garden variety” emotional distress not accompanied by a tort

action for infliction of emotional distress or claims of a specific mental disorder, have found that

the psychotherapist-patient privilege is not waived by such claims. Porter v. Pinkerton Gov't Servs.,

Inc., 304 F.R.D. 24(D.D.C. May 23, 2014), EEOC v. Wal-Mart Stores, Inc., 276 F.R.D. 637 (E.D.

Wash. 2011); EEOC v. Nichols Gas & Oil, Inc., 256 F.R.D. 114 (W.D.N.Y. 2009).


        Federal courts have used the following five factors to assess whether a plaintiff's claims for

emotional distress are "garden variety" or more severe: (1) the presence of a cause of action for

intentional or negligent infliction of emotional distress; (2) an allegation of a specific mental or

psychiatric injury or disorder; (3) a claim of unusually severe emotional distress; (4) a proffer of

expert testimony to support a claim of emotional distress; and/or (5) a concession by the plaintiff

that his or her mental condition is "in controversy." Porter,304 F.R.D. 24.
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       Plaintiff’s claim for damages does not meet these criteria. Anyway, Plaintiff does not have

responsive records.


Respectfully submitted,


/s/William Claiborne                               /s/ Bennett Borden
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